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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS
WESTERN DIVISION
                                                     )
                                                     )
In re                                                )       Chapter 7
                                                     )       Case No. 15-30497-EDK
FRANKIE D. ANDREWS                                   )
                                                     )
                                      Debtor         )
                                                     )

        TRUSTEE’S MOTION FOR ORDER APPROVING PRIVATE SALE
OF PROPERTY OF THE ESTATE FREE AND CLEAR OF LIENS AND ENCUMBRANCES
                 PURSUANT TO 11 U.S.C. § 363(b), (f) and (h)


        Now comes Gary M. Weiner, Esq., Chapter 7 Trustee (the “Trustee”) of the Estate of Frankie D.
Andrews (the “Debtor”), by and through his counsel, Weiner Law Firm, P.C., and hereby moves,
pursuant to Bankruptcy Code § 363(b), (f) and (h), and Bankruptcy Rule 6004(c) for authority to sell,
by private sale, certain real property belonging to the bankruptcy estate (the “Estate”), located at 66
Duggan Circle, Springfield, Hampden County, Massachusetts, free and clear of all liens, encumbrances
and claims of every kind and description, to Joseph Basile (the “Buyer”) of 241 Crane Hill Road,
Wilbraham, Massachusetts, or his nominee for the sum of $110,000.00, plus a buyer’s premium, as set
forth in more detail below. A corresponding Notice of Intended Private Sale of Property, Solicitation
of Counteroffers, and Deadline for Submitting Objections and Higher Offers and Hearing Date (the
“Notice of Intended Sale”) is attached as Exhibit “A” to this Motion. In support of this Motion, the
Trustee respectfully states as follows:


   1.         On May 30, 2015, the Debtor filed a voluntary petition for relief under Chapter 13 of the
              United States Bankruptcy Code.


   2.         On or about August 5, 2016, the matter was converted to a proceeding under Chapter 7
              of the United States Bankruptcy Court.

   3.         On or about August 8, 2016, Gary M. Weiner was appointed Chapter 7 Trustee in this
              case and he continues to serve in that capacity.
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4.     The matters set forth herein constitute core proceedings pursuant to 28 U.S.C. § 157(b) (2) (N).


5.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.


6.     Among the assets of the Estate is the real property located at 66 Duggan Circle, Hampden
       County, Massachusetts (the “Property”).


7.     In his Schedules, the Debtor values the Property at $127,216.50 and represents that he intends to
       surrender it. He further states that the Property is subject to a first mortgage held or serviced by
       Nationstar with a balance of approximately $131,067.00, and a second mortgage held or serviced
       by   Central Loan     and serviced by Cenlar with a balance of approximately $25,883.00
       (collectively, the “Lenders”).


8.     Upon information and belief the first mortgage is now held or serviced by Mr. Cooper and the
       second mortgage remains to be held or serviced by Cenlar.


9.     Pursuant to the Trustee's Motion to Employ Broker, which was filed with this Court on October
       23, 2014, the Trustee engaged BK Global Real Estate Services and B & B Real Estate of
       Holyoke, MA as real estate brokers (the “Brokers”). The Brokers have negotiated a short sale
       agreement with the Mr. Cooper under which the bankruptcy estate will receive a "carve out", so-
       called, of $2,000.00 from the sale proceeds and the Buyer has agreed to pay the bankruptcy estate
       an additional $5,500.00. The commission to be paid to the Brokers will be 6% of the sale price
       which is to be paid out of the sale proceeds and not out of the carve out funds.


10.    The Trustee has entered into an agreement (subject to approval by this Court), to sell the Property
       to the Buyer for the sum of $110,000.00, plus the Buyer is to pay the Estate an additional
       $5,500.00. The estate will also receive a "carve out" from the sale proceeds of $2,000.00, for a
       total of $7,500.00. The Buyer has paid a deposit of $1,000.00, which is being held by the estate.
       A copy of the Purchase and Sale agreement and addendum are annexed hereto as Exhibit "B".
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11.    On information and belief, the Buyer has no connection with the Debtor and are not insiders of
       the Debtor, as that term is defined in 11 U.S.C. § 101(14). The Trustee believes that the Buyer
       is a good faith purchaser as that term is used in 11 U.S.C. §363(m).


12.    The Trustee believes that a sale of the Property by private sale is in the best interest of the Estate.
       The Trustee believes that the price being paid exceeds that which would be realized at any other
       disposition, such as a public auction. In addition, because the Brokers have been able to negotiate
       the "short sale" with the Lenders, there will be a recovery for the Estate, even though the sale
       price is less than the balance owed on the mortgage debt.


13.    As set forth in the Notice of Intended Sale served contemporaneously herewith, the Trustee will
       solicit any offers for the Property in an amount of $111,500.00 or more, which are accompanied
       by a deposit of at least $5,000.00, on the same terms and conditions as the offer made by the
       Buyer.


14.    The Trustee further requests authority to make the following distributions from the sale: ordinary
       closing costs, the Brokers’ commission of 6% of the sale price, real estate taxes, and any related
       municipal charges on the Property. Of the remaining sale proceeds, $2,000.00 1 will be retained
       by the Estate, and the balance will be remitted to the Lenders on their secured claims.


15.    The Trustee states that the sale of the Property under these circumstances is at least in part for
       the benefit of the first mortgage holder, so that payment of the fees and expenses relating to the
       sale of the Property, including the broker's commission, is allowable from the proceeds of the
       sale, pursuant to 11 U.S.C. § 506(c).


16.    Please take notice that any objections or counteroffers to this private sale must be filed with the
       Clerk of the United States Bankruptcy Court, United States Courthouse, 300 State Street, Suite

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 Buyer is to pay the estate an additional $5,500.00 as part of the sale separate from the carve-out
provided by Mr. Cooper.
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       220, Springfield, MA 01103 no later than May 18, 2018 at 4:30 p.m. with copies to counsel to
       the Trustee, Gary M. Weiner, Esq., Weiner Law Firm, P.C., 1441 Main Street, Suite 610,
       Springfield, MA 01103, and to the Buyer Joseph Basile, 241 Crane Hill Road, Wilbraham, MA
       01095 and his counsel, Dunn and Phillips, 185 Belmont Avenue, Springfield, MA 01108.


17.    Any objections or counteroffers must state the name and docket of this case. Any objection must
       identify the party objecting to the proposed sale and must state the specific reasons for the
       objection. Any reasons not set forth therein may be deemed to be waived.


18.    If no objection or counteroffer is timely filed, the sale may be approved without further notice
       or hearing.


19.    In the event that an objection or counteroffer is timely filed, the Court has scheduled a hearing
       on whether or not the intended sale should be approved. The hearing is set for Tuesday, May
       22, 2018 at 11:00 am in United States Bankruptcy Court, Berkshire Courtroom, 300 State
       Street, Springfield, MA. Any party filing an objection or counteroffer will be expected to
       appear at the hearing or have a representative appear on their behalf. At that hearing, the Court
       may take further action without further notice to parties in interest.




       WHEREFORE, Gary M. Weiner, Esq., the Trustee respectfully requests that this Honorable
       Court enter an Order:


       1.     Authorizing the Trustee's Motion for Order Approving Private Sale of Property of the
              Estate, pursuant to 11 U.S.C. § 363(b), (f) and (h), to Joseph Basile, or his nominee, free
              and clear of all liens and encumbrances, including tax liens, pursuant to the provisions of
              this Motion;
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       2.     Declaring that all encumbrances shall attach to the proceeds of the sale, to the extent that
              they are valid and perfected, in the same priority as they are entitled to under applicable
              law, except for the “carve out” of $2,000.00 which will be preserved for the Estate;


       3      Authorizing the Trustee to execute all documents necessary to complete the sale;


      4.     Authorizing the Trustee to make payments from the sale proceeds to Mr. Cooper, holder
             of the first mortgage on the Property, and for ordinary closing costs, real estate taxes, and
             the Broker’s commission of 6% of the sale price, as set forth herein; and


      5.     Authorizing the Trustee to accept $5,500.00 from the buyer as part of the sale process;
             and

      6.    Granting such other and further relief as this Court deems just and proper.



                                     GARY M. WEINER, ESQ., Chapter 7 Trustee
                                     Of the Estate of Frankie D. Andrews,
                                     By his Counsel,

                                     /s/ Gary M. Weiner, Esq.
                                     Gary M. Weiner, Esq., BBO #548341
                                     WEINER LAW FIRM, P.C.
                                     1441 Main Street, Suite 610
                                     Springfield, MA 01103
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                                     Date: April 16, 2018
